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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA


v.                            NO. 4:11CR00114-001    SWW


CONTESSA CLARK




                                   ORDER

     The Court shall modify the Judgment and Commitment filed February

17, 2012 [doc #58] to include an additional condition that was ordered

at the sentencing hearing to the Additional Probation Terms, page 3 of

5, as follows:

     Condition #4: Defendant shall serve a period of SIX (6) MONTHS in
home detention with electronic monitoring under the supervision and
guidance of the U. S. Probation Office.    The cost of such monitoring
is to be paid by the United States Probation Office.

     IT IS THEREFORE ORDERED that the Judgment and Commitment be amended

to reflect the above-stated condition and that all other terms and

conditions of defendant’s Judgment and Commitment shall remain unchanged

and in full force and effect.

     IT IS SO ORDERED, this 22nd day of February 2012.



                                         /s/Susan Webber Wright

                                       United States District Judge
